         Case: 25-2162    Document: 25     Page: 1      Date Filed: 07/10/2025




                              No. 25-2162
         ____________________________________________________

             IN THE UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT
         _____________________________________________________

                               MAHMOUD KHALIL,

                                 Petitioner-Appellee,

                                          v.

  PRESIDENT UNITED STATES OF AMERICA; DIRECTOR NEW YORK
    FIELD OFFICE IMMIGRATION AND CUSTOMS ENFORCEMENT;
 WARDEN ELIZABETH CONTRACT DETENTION FACILITY; DIRECTOR
          UNITED STATES IMMIGRATION AND CUSTOMS
   ENFORCEMENT;SECRETARY UNITED STATES DEPARTMENT OF
HOMELAND SECURITY; SECRETARY UNITED STATES DEPARTMENT OF
                      STATE; ATTORNEY
             GENERAL UNITED STATES OF AMERICA,

                         Respondents-Appellants.
     ___________________________________________________________

     RESPONDENTS-APPELLANTS’ MOTION FOR EXTENTION
          OF TIME TO FILE REPLY IN SUPPORT OF THEIR
           MOTION TO STAY DISTRICT COURT’S ORDER
   _____________________________________________________________


      On June 26, 2025, Respondents-Appellants filed a motion to stay the District

Court’s order pending appeal in this case. On July 9, 2025, after obtaining a two-day

extension to do so, Petitioner-Appellee filed an opposition to Respondents’ motion.

Respondents’ reply is currently due on July 16, 2025.
         Case: 25-2162       Document: 25    Page: 2     Date Filed: 07/10/2025




      Respondents respectfully request their own two-day extension to file their reply

in support of their motion. This is Respondents’ first request for an extension. The

extension request is made in good faith and without purpose of delay. The extension is

necessary because Respondents consist of several different federal entities, and

additional time is needed to effectively coordinate between them. Additionally,

Respondents’ counsel has other litigation obligations and deadlines, including a new

district court filing due on July 15, 2025. Finally, undersigned counsel will be on medical

leave starting July 11, and work and responsibilities are being distributed to other

government counsel. Respondents require a short-two day extension in light of these

considerations.

      Undersigned counsel requested Petitioner’s position on this extension request.

Petitioner consents the request.

      THEREFORE, Respondents respectfully request that the due date for their

reply in support of their motion to stay the district court’s order pending appeal be

extended to July 18, 2025.




                                            2
        Case: 25-2162   Document: 25    Page: 3     Date Filed: 07/10/2025




                                       Respectfully submitted,

                                       BRETT A. SHUMATE
                                       Assistant Attorney General

                                       YAAKOV M. ROTH
                                       Principal Deputy
                                       Assistant Attorney General

                                       DREW C. ENSIGN
                                       Deputy Assistant Attorney General
                                       Office of Immigration Litigation

                                       ALANNA DUONG
                                       Senior Litigation Counsel

                                       s/ Dhruman Y. Sampat
                                       DHRUMAN Y. SAMPAT
                                       Senior Litigation Counsel
                                       Office of Immigration Litigation
                                       General Litigation and Appeals Section
                                       PO Box 878, Ben Franklin Station
                                       Washington, D.C. 20044
                                       dhruman.y.sampat@usdoj.gov
Dated: July 10, 2025




                                        3
         Case: 25-2162     Document: 25     Page: 4    Date Filed: 07/10/2025




                       CERTIFICATE OF COMPLIANCE
      Pursuant to Federal Rule of Appellate Procedure 32(a)(7), I certify that the

foregoing:

      (1) was prepared using Garamond type, Font Size 14;

       (2) contains 202 words of text.

      Undersigned counsel used Microsoft 365 to prepare this motion. The virus

detection program, Microsoft Forefront Endpoint Protection 2010, has been run on

the electronic version of this motion, and no viruses were detected.


                                          s/ Dhruman Y. Sampat
                                          DHRUMAN Y. SAMPAT
                                          Senior Litigation Counsel
                                          Office of Immigration Litigation
                                          General Litigation and Appeals Section
                                          PO Box 878, Ben Franklin Station
                                          Washington, D.C. 20044
                                          dhruman.y.sampat@usdoj.gov

Dated: July 10, 2025
     Case: 25-2162      Document: 25     Page: 5     Date Filed: 07/10/2025




                       CERTIFICATE OF SERVICE

      I hereby certify that on July 10, 2025, I caused the foregoing document to

be electronically filed with the Clerk of the Court for the United States Court of

Appeals for the Third Circuit by using the appellate CM/ECF system.

Petitioner’s counsel are registered users of the CM/ECF system and will receive

service through the system.

                                       s/ Dhruman Y. Sampat
                                       DHRUMAN Y. SAMPAT
                                       Senior Litigation Counsel
                                       Office of Immigration Litigation
                                       General Litigation and Appeals Section
                                       PO Box 878, Ben Franklin Station
                                       Washington, D.C. 20044
                                       dhruman.y.sampat@usdoj.gov
